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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

Case Number: 23-3808
Case Name: Jose DeCastro v. Pam Wagner, et al
Name: Jose DeCastro
Address: 1258 Franklin St.
City: Santa Monica                              State: CA         Zip Code: 90404



                                 PRO SE APPELLANT'S BRIEF

Directions: Answer the following questions about the appeal to the best of your ability. Use
additional sheets of paper, if necessary, not to exceed 30 pages. Please print or write legibly, or type
your answers double-spaced. You need not limit your brief solely to this form, but you should be
certain that the document you file contains answers to the questions below. The Court prefers short
and direct statements.

Within the date specified in the briefing letter, you should return one signed original brief to:

                      United States Court of Appeals For The Sixth Circuit
                               540 Potter Stewart U.S. Courthouse
                                       100 East Fifth Street
                                  Cincinnati, Ohio 45202-3988


1. Did the District Court incorrectly decide the facts?            ✔ Yes                    No

     If so, what facts?
      1. The court finds that "a city employee announced that the building was closing and would
      be locked". As to intent, I did not know it at the time if this was an employee and the video
      which was also submitted establishes this. The amended complaint is based off of limited
      discovery where the city had alleged it was an employee. (continued on attachment 1)


2. Do you think the District Court applied the wrong law?              ✔ Yes                     No

     If so, what law do you want applied?

      1. Plaintiff should have been allowed leave to amend. Brown v. Matauszak, 415 F. App'x
      608, 614 (6th Cir. 2011); PR Diamonds, Inc., v. Chandler, 364 F.3d 671, 698 (6th Cir.
      2004);Tolliver v. Noble, 752 F.App'x 254, 264-265 (6th Cir.2018).
      2. The court should consider plaintiff documents filed after the pro se complaint as
      submitting other factual allegations. Flournoy v. Seiter, 835 F.2d 878 (6th Cir.1987).
      3. The court continued to enforce state administrative procedures in plaintiff's claims
      against the individuals for the harm to his phone. Apply the proper individual liability.
      4. Where error, surprise, and new evidence that could not reasonably be discovered prior is
      available, Fed. R. Civ. P. Rules 59 and 60 should apply.(continued on attachment 2)
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3. Do you feel that there are any others reasons why the District Court's judgment was wrong?
       ✔ Yes           No
   If so, what are they?
      Judge Barrett has shown an appearance of bias due to plaintiff blasting the judge on
      YouTube and apparently knows Judge Waldo, a witness.




4.    What specific issues do you wish to raise on appeal?
      1. When a pro se plaintiff makes a civil rights claim pleading facts including referencing a
      video showing the incident, can the plaintiff be denied the ability to amend any defects in its
      claim pleadings?
      2. Can a court make a judgment on the pleadings when there are material issues of fact?
      3. Can a court make a judgment in favor of a defendant on the pleadings when the moving
      party never even alleges a lack of genuine issue of material fact?
      4. Can a court make a determination of probable cause without knowing which
      circumstances the officers were reasonably aware of at the time?
      5. Can a court dismiss a claim on the pleadings with probable cause being a defense of
      liability not a defense from suit?
      6. Even if there is probable cause, doesn't or couldn't plaintiff allege facts sufficient to show
      that the police don't typically enforce that statute, even at the same incident?
      7. Even if there is probable cause, doesn't or couldn't plaintiff allege facts sufficient to show
      that the statute is being enforced to chill plaintiff's protected rights?
      (continued on attachment 4).

5. What action do you want the Court of Appeals to take in this case?
      1. Reverse the district court's granting of the defendants' motions to dismiss (Doc 21) and
      for judgment on the pleadings (Doc 23) and remand the case back to the district court.
      2. Reverse the district court's denial of plaintiff's second amended complaint and grant it.
      3. Recuse Judge Barrett for obvious and apparent bias.

I certify that a copy of this brief was sent to opposing counsel via U.S. Mail on the 2nd day of
                    January , 2024 .


                                              Signature (Notary not required)




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                                    Attachment 1
Did the District Court incorrectly decide the facts? Yes
If so, what facts? (continued from form):
1. (continued) The allegation that it was a city employee is a conclusory statement.
It may later be proven to be an employee as to the fact that the person might have
had the authority to withdraw privilege. As to whether this signified plaintiff intent
to trespass when plaintiff thought it was a fellow protestor passing on information
is a question of fact to which a reasonable juror could find for the plaintiff. As to
whether the words the alleged employee used was a withdrawal of privilege and
when that withdrawal applied is a question of fact to which a reasonable juror
could find for the plaintiff. If it’s even relevant because a person is not trespassing
unless the building is no longer open to the public, regardless of what a tenant says,
and the plaintiff has alleged that the building was still open to the public with an
unlocked front door.
2. The court finds that “After the building had closed but before Decastro was able
to leave”. The complaint merely alleges the time on the walk clock, not that the
building was closed. The plaintiff further alleges that the building was not closed to
the public and that the door was not locked. Further, it is clear that the defendants,
who had worked in the building for years, were aware of the wall clock in the city
hall being significantly fast, and through their filings committed fraud on the
district court by intentionally hiding this truth. The fact is that it wasn’t even 5:00
o’clock yet and even if it was, a person is not trespassing unless the building is no
longer open to the public, regardless of posted business hours, and the plaintiff has
alleged that the building was still open to the public with an unlocked front door.
3. The court found that plaintiff amended his complaint to remove the county
defendants. This is contrary to the first amended complaint which included the
same facts, and named the individual county defendants in the pleading.
4. The court found that the plaintiff “repeatedly failed to address the County
Defendants’ assertion that their omission from the amended complaint functions as
a voluntary dismissal of the claims against them.” This is false and not supported
by the pleadings. Plaintiff only made one response and it was an opposition.
Further, the individual county defendants are named in the first amended
complaint.
5. The court found that Devenpeck v. Alford, 543 U.S. 146, 152 (2004) applies
upon “reasonable conclusions ‘drawn from the facts known to the arresting officer
at the time of the arrest,’” but makes no findings of fact nor could it as to what the

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officer knew at the time of the arrest.
6. The court found that “Decastro does not show that he was entitled to be in the
building after it had closed”. That’s partly because plaintiff never alleged in his
pleadings or in the video evidence, that the building was closed. The court
mistakenly interprets the facts that the building was closed when it clearly wasn’t.
7. The court found that the defendants had probable cause because the plaintiff did
not “allege, beyond a single conclusory statement, that the City Defendants lacked
probable cause to arrest him.” This is not true. Although the plaintiff may have
used the words probable cause in a conclusory fashion, it was in summarizing the
facts alleged throughout the complaint that the defendants arrested plaintiff in
retaliation for exercising his first amendment rights in a traditional public forum
while it was open to the public. Further, the plaintiff did not allege any facts that
would give defendants probable cause. Further, plaintiff argued against there being
probable cause in its opposition to defendant’s motion for premature dismissal due
to a defense of probable cause. Although a plaintiff in this circuit may have the
burden of proving that probable cause did not exist, probable cause is a defense
which hadn’t yet been raised in an answer. Finally, plaintiff raised facts and law to
defend in its opposition at Doc # 32 ¶ 20.
8. The court found that plaintiff was “by his own admission, in violation of Ohio’s
criminal trespassing statute when he chose to remain in the building after it closed
without the privilege to do so. See Ohio Rev. Code. § 2911.21(A)(1)-(5).” Plaintiff
never admitted that the building was closed, that his privilege had been revoked, or
that the statute even existed. Instead, the court sua sponte applied its fantastical
reading of the facts to apply to a state code never mentioned in the pleadings. Even
if plaintiff had admitted to trespass, which he did not, he is not a judge and the
facts make it clear that he was not trespassing. Further, even if there was probable
cause, the statute is being applied in an unconstitutional manner, and was being
enforced in retaliation when it’s not typically enforced.
9. The court found “Decastro has failed to plausibly allege a constitutional
violation.” The court basically found that plaintiff failed to allege any facts to
support its claims, but made only conclusory statements, even though plaintiff
attached a video exhibit showing the facts as well. This is simply a poorly
inaccurate factual finding. Further, the court has magically found facts that were
not plead to justify the defendants’ actions, even making findings of intent and
personal knowledge. The court’s findings were on an insufficient amount of facts
in the pleadings and contrary to many of the facts already in the pleadings. The
court also seems to have made findings because plaintiff failed to make enough
conclusory statements to summarize the facts.
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10. The court found “no evidence was presented as to any damages”, citing
defendants’ motion which contained no affidavit or other evidence, and used this in
its judgement on the pleadings. The court also doesn’t understand how a replevin
action works. The goods aren’t returned in the hearing giving the plaintiff time to
examine the goods for damages and filing evidence of damages in the hearing.
11. The court found “as for Decastro’s claim that his phone was damaged upon
return, it finds no support in the record”. Here, the court again cites the defendant’s
motion for evidence, which contained no affidavit or other evidence, and used this
in its judgement on the pleadings. Plaintiff’s first amended complaint at ¶¶ 16 -17,
27, 34 clearly says otherwise, as well as Plaintiff’s opposition Doc # 32, ¶¶ 7, 23.
                                    Attachment 2
Did you think the District Court applied the wrong law? Yes
If so, what law do you want applied? (continued from form):
5. The presence of a defendant in the caption is irrelevant where they are in the
factual allegations. United States v. ICC, 337 U.S. 426, 430 (1949); United States v.
Providence Journal Co., 485 U.S. 693, 708 n.11 (1988).
6. The court must “construe the complaint in the light most favorable to the
plaintiff in a 12(b)(6) motion, which the court cited itself, and then didn’t follow.
Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008)
(quoting Directv, Inc. v Treesh, 487 F.3d 471, 476 (6th Cir. 2007)); Keys v.
Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012).
7. A motion for judgment on the pleadings is appropriately granted when no
material issue of fact exists and the moving party has shown this and the pleadings
are closed. JPMorgan Chase Bank, N.A. v. Winget, 510 F.3d 577, 582 (6th Cir.
2007); Bickley v. Dish Network, LLC, 751 F.3d 724, 733 (6th Cir. 2014); Thomas v.
Croft, No. 2:10-cv74, 2011 U.S. Dist. LEXIS 48442, at *3 (S.D. Ohio May 4,
2011); Wilson-Bey v. Zak, No. 05-71472, 2006 U.S. Dist. LEXIS 10932, at *4
(E.D. Mich. Mar. 17, 2006) (Citing a Supreme Court decision); Fed. R. Civ. P.
12(c); See also Hoskins v. Knox Cnty., No. 17-84-DLBHAI, 2018 U.S. Dist.
LEXIS 42694, at *9 (E.D. Ky. Mar. 15, 2018) (collection of cases).
8. A claim has facial plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged. Bell Atl. Corp. v. Twombly, 550 U.S. 556 (2007).
9. A complaint will not be dismissed merely because it contains an “imperfect
statement of the legal theory supporting the claims”. Johnson v. City of Shelby, 574

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U.S. 10 (2014);
10. An arrest not supported by probable cause violates the Fourth Amendment.
Stahl v. Coshocton Cty., 754 F. App'x 335 (6th Cir. 2018).
11. Requirements for a §1983 claim are lower at the pleading stage. Leatherman v.
Tarrant County Narcotics Intelligence and Coordination Unit, 507 U.S. 163, 164
(1993); Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002); Dominguez v.
Corr. Med. Servs., 555 F.3d 543, 549 (6th Cir. 2009).
12. The determination of probable cause is an inherently fact-based analysis that
must be conducted on a case-by-case basis. United States v. Frechette, 583 F.3d
374, 380 n.3 (6th Cir. 2009).
13. Probable cause is a defense from liability, not a defense from suit. Pierson v.
Ray, 386 U.S. 547, 557 (1967).
14. Plaintiff’s rights were chilled if the actions of the defendants would chill a
person of ordinary firmness, regardless of whether they actually chilled
defendant’s. Alsaada v. City of Columbus, 536 F. Supp. 3d 216, 268 (S.D. Ohio
2021).
15. “Defendants ostensibly arrested Plaintiff for violating Ohio's criminal trespass
law. However, if instead, as Plaintiff appears to allege, Defendants arrested him
because of the content of his speech, then Defendants acted in violation of the First
Amendment in ways that should have been clear to a reasonable officer.” Logsdon
v. Hains, 492 F.3d 334, 346 (6th Cir. 2007).
16. Requiring a showing of evidence at the pleading state is inappropriate. Wesley
v. Campbell, 779 F.3d 421, 428 (6th Cir. 2015).
17. Regardless of usual business hours or posted business hours, a person has a
privilege to enter an establishment when it is “open to the public”, and an unlocked
door during business hours continues to extend a tacit invitation to the public.
STATE v. KILGORE, C.A. Case No. 17880, 2000 Ohio App. LEXIS 2612, at *7-8
(Ct. App. June 16, 2000).
18. By the wording of the O.R.C. 2911.21(A)(1) trespass statute, including the
word “knowingly”, it is clear that the intent of the statute is to require intent.
19. The court must interpret the statute to be constitutional even if that
interpretation departs from the most natural reading. Jennings v. Rodriguez, 138 S.
Ct. 830, 869 (2018).
20. Nieves v. Bartlett, 587 U.S., 139 S. Ct. 1715, 1725 (2019) and Hartman v.

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Thompson, 931 F.3d 471, 484 (6th Cir. 2019) are distinguished by the fact that they
are summary judgment motions, where a “showing” of evidence is appropriate.
Requiring a showing of evidence at this stage in the pleading is inappropriate.
Wesley v. Campbell, 779 F.3d 421, 428 (6th Cir. 2015).
21. Ross v. Duggan, 402 F.3d 575, 583 (6th Cir. 2004), is distinguishable in that it
was for illegal seizure of property and not illegal search and the Defendants in their
individual capacities do not represent the state.
22. Naming a government employee in their official capacity also names their
employer. Alkire v. Irving, 330 F.3d 802, 810 (6th Cir. 2003).
23. Whitley v. Mich. Dept. of Corr., 1:22-cv-448, *10 n.2 (W.D. Mich 2022) is
distinguishable mostly because it was not a pro se Plaintiff, but the Plaintiff also
failed to attach a proposed amended complaint as required by local rules. Here, we
have a pro se Plaintiff and no local rules requiring attached amendments.
Additionally, Plaintiff has clearly requested leave to amend in its 59(e) motion
conclusion. Plaintiff also be filed a separate motion for leave to amend.
24. Newly discovered evidence is good cause for allowing even a late amended
complaint. The new evidence would lead a reasonable juror to find plaintiff
innocent of the trespass charges which this court ruled on primarily due to the time
on the city hall clock. Maniaci v. Schwartz, 6th Cir. NO. 93-1326, 1994 U.S. App.
LEXIS 10740, at 6 (May 11, 1994); Langley v. Credit Suisse First Boston Corp.,
89 F.App'x 938, 944 (6th Cir.2004); James v. City of Detroit, 6th Cir. No. 20-
1805/21-1053, 2021 U.S. App. LEXIS 35069, at 9-12 (Nov. 23, 2021); Venture
Global Eng., Ltd. Liab. Co. v. Satyam Computer Servs., 730 F.3d 580, 590 (6th
Cir.2013); Grant v. Target Corp., 281 F.R.D. 299, 304 (S.D.Ohio 2012); Ketter v.
City of Newark, S.D.Ohio No. 04-cv-00550, 2008 U.S. Dist. LEXIS 133918, at 3-5
(July 25, 2008); Fialka-Feldman v. Oakland Univ. Bd. of Trustees, E.D.Mich. No.
08-14922, 2009 U.S. Dist. LEXIS 148128, at 5-6 (June 17, 2009).
                                   Attachment 4
What specific issues do you wish to raise on appeal? (continued from form):
8. Can a court determine that a trespass has occurred based on the pleadings from
an inaccurate wall clock, when it is clear in case law that trespass requires the
business to be closed to the public?
9. Can a court determine that a trespass has occurred based on the pleadings when
trespass is an intent based crime and there is no evidence or allegations of intent in
the non-conclusory pleadings?

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10. Can a party move for judgment on the pleadings before the pleadings are
closed?
11. Must a § 1983 Monell claim contain a perfect statement of legal theory, or must
it only plead facts which establish the claim?
12. Is it proper for a court to admonish a plaintiff for violating a local rule related
to discovery but not to admonish the defendants for violating a federal rule, or does
that show an appearance of bias?
13. Must a non-moving party deny or correct a moving party’s incorrect legal
conclusions in their opposition in order to stop a court from applying the incorrect
law without court analysis, even though the non-moving party has made a general
opposition? Does Fed. R. Civ. P. Rule 7(b)(1)(B) not require sufficient grounds?
14. Can the court conclude that no reasonable jury could determine that plaintiff
lacked intent based on a conclusory statement on whether someone was an
employee?
15. Can the court conclude that no reasonable jury could determine that plaintiff
lacked intent based on a conclusory statement on what was said by the employee
without the actual words said?
16. Can the court make factual determinations for all reasonable juries made on
conclusory statements or should they look at the video evidence and make
objective determinations?
17. Can the court make subjective determinations on what a police officer had in
their knowledge by reviewing pleadings that are absent of that information, or by
watching a video?
18. Can a court sua sponte apply facts to a criminal statute that aren’t in that
pleading?
19. When applying facts in a pleading to a criminal statute, should the court look at
all the facts or just conclusory statements?
20. When a court applies facts to a criminal statute, should the court interpret the
statute in a way that doesn’t violate the U.S. Constitution?
21. When a court applies facts to a criminal statute, should the court look at prior
interpretations of that statute?
22. When a court applies facts to a criminal statute in a motion to dismiss, should
the court weigh the pleadings in the light most favorable to the plaintiff?


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23. Is it fraud when a defendant relies on facts that they know to be false, argues
those facts even knowing that they’re false, and does that raise an error sufficient
to justify an amended judgement?
24. When determining whether a plaintiff has plausibly alleged a claim, should it
only look at the conclusory statements that the plaintiff made or should it include
the facts alleged?
25. Can the court rely on and cite a defendant’s opposed motions containing no
affidavits or evidence when making a judgment on the pleadings?
26. When a court finds that facts are missing from the record that are clearly there,
is that an error?
27. When a court makes findings that contradict the factual allegations in the
pleadings including the video, is that an error?
28. Can the court dismiss a pro se plaintiff’s complaint without leave to amend,
when there are clearly facts that could be plead to correct any deficiencies?
29. Must the court consider a pro se plaintiff’s other documents filed when
determining if there are sufficient other facts that could be plead to correct the
complaint?
30. Must a defendant be named in the caption and even if so, should a party be
allowed to amend the pleading where it is missing?
31. Isn’t arguing that an arrest was made without probable cause the same as
arguing that one’s fourth amendment rights were violated?
32. Are the pleading standards for a pro se §1983 claim lower than other types of
claims?
33. Can a probable cause determination be made based on case law or must it be
made on a fact-based case by case analysis, and must that be by the fact finder at
trial?
34. Wouldn’t a reasonable officer have known that they were violating the rights of
a plaintiff by arresting them while they were protesting in a traditional public
forum while the building was still open to the public?
35. Even if there was probable cause, doesn’t it matter that the defendants would
have lacked probably cause if plaintiff had not been discriminated against when
seeking a permit?
36. Does an officer need to be aware of intent to establish probable cause for an

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intent based crime?
37. Is a person in violation of O.R.C. 2911.21(A)(1) if they had privilege when
they entered the building and the privilege had not been revoked? It has not been
alleged what the posted business hours of the building were or that a person with
the capacity to revoke plaintiff’s privileges did indeed revoke plaintiff's privileges.
38. Can the privileges of a person exercising their first amendment rights in a
traditional public forum be revoked when the building is still open to the public?
39. Is a building still open to the public when the doors are unlocked and members
of the public are still in the building?
40. Must a plaintiff plead facts sufficient to show a lack of probable cause in the
pleading stage?




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